  I, Christopher Cantwell, begin by begging the pardon of the court for what is sure to be an inadequate
  understanding of the proper way to go about this. I am informed of two motions which act substantially
  against my interests in this proceeding, and I seem to be on my own in responding.

  As I understand it, I have been accused of making unlawful threats against Roberta Kaplan. I suspect a
  review of the material in question will find the court in agreement that I have done no such thing.

  I had only found out about the previous such motion when the decision was emailed to me by my
  attorney. I thusly had no opportunity to respond to the initial complaint.

  Had that opportunity presented itself, I would have pointed out that, while Plaintiffs work diligently to
  present a contrary picture, not every word out of my mouth is a criminal act. “Having fun” with
  someone after a proceeding is hardly a “threat” and I had only meant to say that during these
  proceedings I would have been well advised not to say everything I wished to say about Roberta
  Kaplan’s interview with the Jewish Telegraphic Agency. That interview was telling, in that Ms. Kaplan
  plainly confessed the ideological motivations for this abuse of our courts, and made many demonstrably
  false claims which, much like those in the initial complaint, are lacking in merit, to say the least of it.
  Indeed, this desperate attempt to further harass me with these motions comes on the heels of extensive
  discovery failing to produce evidence of their conspiracy theory, because of course, no such conspiracy
  ever existed.

  My understanding of the decision on that motion was that I was prohibited from making “unlawful
  threats” which I took to be something of a truism. Of course I am prohibited from doing anything
  unlawful, court order or none. Surely had I made an unlawful threat, I’d be facing criminal prosecution,
  as plaintiffs are in no way shy about making criminal complaints, merit or none.

  For context, my view has been, and remains, that this lawsuit, like the bogus criminal charges filed
  against me in Albemarle County, is motivated by a desire to silence, not only me and my associates, but
  anyone who might dare to agree with us even on peripheral issues. This is evidenced by the President of
  the United States, and the 2nd most popular show in cable news (Tucker Carlson) being branded as
  “White Nationalists” on account of sharing a small number of our views on the pressing issues of our
  time.

  Also like the criminal proceedings in Albemarle County, I believe the process is being abused in order to
  drain me of the resources and will to fight back, so that I might be outspent and outmaneuvered into
  defeat. This being opposed to the traditional sense of justice, where the facts would have to prove my
  having committed some wrong. This is precisely what happened in the criminal proceeding, where I
  faced 40 years in prison for demonstrably false claims, which the prosecutor knew full well to be false,
  and was, at the last minute, made an offer to plead guilty to two misdemeanors and be home the same
  day, or to wait another month confined against my will, awaiting the verdict of a deeply biased jury.

  I had previously turned down numerous such plea offers, but after 11 months away from home, deeply
  in debt, cut off from the financial system, banned from social media, and humiliated by the press, I was
  left without the will or resources to continue, and accepted the offer.

  Indeed we are faced with exactly this prospect today, as my attorneys have now filed another motion to
  withdraw as my counsel, citing the increased burden on their time presented by plaintiffs’ most recent
  motion, and my inability to compensate them for their services.




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  Be this the state of justice in America, then I suppose my defeat is imminent, and the complaints I make
  about this state of affairs will be proven definitively. Were this proceeding to make it to trial, nobody
  would be able to prove that I planned on attacking anyone, nor did I encourage anyone else to attack
  anyone, nor did I “lead” any “charge,” or initiate any violence whatsoever.

  In fact, I conditioned my participation on our cooperation with law enforcement in advance. I wore a
  body camera to guard against precisely such calumnies. I cooperated with the FBI in the wake of the
  events. I spoke freely to the press even as they slandered me. I have given up an abundance of material
  in this profoundly intrusive discovery process. I loudly professed my innocence to all who would listen,
  and invited all the scrutiny I could so that the truth might be discovered.

  In response, both the prosecutor in Albemarle County, and now the plaintiffs in this case, have sought to
  shut me up. They have been joined in this pursuit by banks, payment processors, social media
  companies, web hosts, domain registrars, and even others who profess to be my fellow White
  Nationalists.

  Telling, indeed. If the facts alleged were true, were I the monster I am portrayed as by my foes, one
  would think it in their best interests for my wickedness to be on full display. Not so, apparently.

  I am only a struggling artist, and a despised political minority. I have, in the course of my intellectual
  journey, and artistic expression, made countless regrettable statements which I never planned on
  having read back to me in a courtroom. Once upon a time, I expected obedience to the law would avoid
  such outcomes. Vilifying me is an easy thing to do, even when I have the opportunity to respond, and
  deprived of this capacity, I am but a sitting duck. So my cries for justice, however loud they may be to
  my own ears, are drowned out by more powerful forces.

  My attorneys wish to withdraw from this case, and I don’t blame them. I’d like to do the same. Since the
  financial industry has destroyed my business by depriving me, without explanation, of the ability to
  process payments, and even squashed a second business of mine which I launched hoping to overcome
  that unlawful discrimination, I am unable to compensate them.

  I have contacted another attorney about this unlawful discrimination by the financial industry. As were
  it not for that discrimination, I would have ample finances. He says we have a solid case, and that if I can
  pay him $250,000 up front, he can prevail on my behalf. I checked the couch cushions, sold my firearms,
  and alas, still came up short. On my rent.

  I would take issue with their description of me having made no effort to pay, however. I’m not living it
  up behind the scenes, refusing to pay for their services while enjoying other luxuries. I have struggled to
  pay my rent, my electric, my car payment, and the insurance for that car. I have no health insurance. I
  have stopped paying my credit cards. I have cut every expense I could, while scrambling to find new
  avenues of earning. When money became available, rare though that may be, I paid them what I could. I
  recognize this is insufficient, and contrary to the 13th amendment claims in this case, I am no advocate
  of slavery, whatever the racial background of the slave. I certainly do not mean to be in violation of my
  agreements with such fine upstanding White men as Mr. Woodard and Mr. Kolenich. This is a source of
  deep shame for me, actually, more so than any of the absurdities alleged by the plaintiffs.

  They have, in both this matter and in the criminal proceedings, gone above and beyond the call of duty,
  and I hope history records their dutiful service to the cause of justice.




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  Sadly, I find myself in a rather difficult predicament though. As this letter surely makes obvious, I am no
  lawyer myself. I have no idea how to go about defending myself against this calumny. My inability to pay
  them will not be altered should I seek new counsel.

  Even were I to stumble across a suitcase full of cash to pay another lawyer, they would surely have a
  great deal of catching up to do, which would further diminish my defense. Elmer Woodard in particular
  is uniquely familiar with the material in this case, as a result of his excellent service in my criminal
  matter. He is, quite literally, irreplaceable. He knows every frame of video from the evening of August
  11th. He knows who the witnesses are, and is intimately familiar with their social media activity, which
  provides a damning contradiction of their absurd claims of being innocent victims, and peaceful counter
  protesters. He knows, and can show this court, better than anyone, that the people who we faced off
  against that faithful weekend, were violent communist agitators who proudly identify themselves as
  Antifa. A movement which those familiar with recent news will recall, is being considered for
  designation as a terrorist organization. Indeed, one of the men I fought has since been charged with
  robbery and ethnic intimidation in Philadelphia.

  I am also puzzled by my attorneys’ assertion that I have done anything they find “repugnant”. This
  seems to be an assertion made to bolster the more legitimate complaint that I am delinquent in my
  payments, and that the obviously false claims made by plaintiffs about my supposed threats are
  increasing the difficulty of their job. Nothing I’ve said between their prior motion to withdraw and now
  has been remotely as offensive as anything I had said prior. Mr. Kolenich has professed his agreement
  with my concerns about demographics to Cincinatti.com, and our differences are a matter of style
  rather than substance. Indeed, in the months since the infamous synagogue shooting in Pittsburgh, I
  have made a deliberate point to tone down the language of my entertainment businesses, in the hopes
  of preventing my audience from becoming so hopeless that they might contemplate participation in
  future bloodshed. In that pursuit, I expelled some troubling elements from my social orbit, and involved
  the FBI to deal with criminal acts those elements perpetrated against me in response to that expulsion.

  Surely, the genuine repugnance of things I had said well prior to all of this, would meet more sincere
  resistance from any attorney I attempted to hire to replace them.

  I suppose the remedy to this might be for me to file for bankruptcy. I contacted a bankruptcy attorney in
  my home state of New Hampshire about this. He told me that I had to deal with some unfiled tax
  returns before I could do that. I attempted to hire a tax relief agency in response, but they want in
  excess of $700/month to deal with this. As already established, I happen to be short on resources as a
  result of the unlawful discrimination I face from the financial industry, and found myself unable to make
  those payments as well. Equally mysterious is how I might afford to pay said bankruptcy attorney, given
  the circumstances.

  And of course, this position I find myself in today was precisely the goal of the plaintiffs in this case, and
  their allies in the media and financial industry. I dared to speak against them. I dared to show up to a
  permitted demonstration which they did not want to take place. I dared to defend myself against their
  violence.

  For these crimes, I must be crushed.

  And crushed I am, but they will not obtain my precious silence.




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      Surely, they have nonetheless accomplished their goal. Nobody who cares about their own comfort and
      security will dare to defy them in the foreseeable future.

      But they won’t stop. They never do. They will push, and push, and push, applying ever more pressure to
      an ever greater swath of the population. All the while insisting they are the victims, while they lie, and
      assault, and wield the powers of the State, the banks, the media, and even the criminal element, against
      people who are by every measure weaker than them.

      If I can keep the services of my attorneys, I’d rather owe them a ton of money for their services, than
      spend the rest of my life being hounded by plaintiffs for money I don’t owe them as the result of a
      default judgement they do not deserve. My credit is of course shot all full of holes as a result of this
      mess though, so I don’t blame them for having some skepticism about my ability to pay in the future.

      I’ve done my best to cooperate with these proceedings, just like I cooperated with law enforcement
      before and after the events in dispute. Many of my codefendants blew off these proceedings to avoid
      finding themselves in this position, and perhaps they will be proven to have had the better idea.

      But for me, this is about more than the money. Were financial gain or preservation my primary motive,
      I’d have pursued a more lucrative profession. I want to carry this case through to trial, I want the
      evidence methodically gone over in view of the public, without the haze of deception imposed by the
      media. I would doubtlessly be vindicated, my foes would doubtlessly walk away embarrassed, and
      perhaps then, the cowards in conservative media would pull their heads from the sand, and tell the
      truth to their audiences about what happened in August of 2017.

      Alternatively, this calumny will stand. Communist terrorism will become a regular factor of American
      life. None will dare to stand against it, for fear of meeting similar ruin. In that light, my ordeal will seem
      quite minor, no doubt.

      After two years of relentless struggle, I am exhausted, broke, and frankly, lacking faith in justice. And so,
      I present myself as a beaten man, who is not guilty of the crimes alleged in the complaint before this
      court. I beg for justice, deeply skeptical of its supply, and await in despair whatever impositions may
      come of the injustice I have for so long struggled against, seemingly, to no avail.



        Chris Cantwell


Signature:   Chris Cantwell
             Chris Cantwell (Sep 23, 2019)

   Email: christopher.cantwell@gmail.com




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